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Attorneys for Jason Brubacher

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                                                                            This Order has been electronically
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                                                                            Court's seal appear at the top of the
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                                                                            United States Bankruptcy Court.

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